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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

JOHN A. FRENCH, JR.,

                           Plaintiff,                         OPINION AND ORDER
      v.
                                                                   19-cv-932-slc
CHRIS BUESGEN, SANDRA ENDER,
and TAMMY MAASSEN,

                           Defendants.


      Pro se plaintiff John French, a prisoner currently incarcerated at Columbia

Correctional Institution (Columbia), is proceeding in this civil action against Tammy

Maassen, Sandra Ender, and Chris Buesgen, on constitutional claims challenging his

medical care at Jackson Correctional Institution (Jackson) from 2019. Defendants filed a

motion for summary judgment (dkt. 49), and the court set September 20, 2021, as

plaintiff’s opposition deadline.   On September 20, rather than filing his opposition

materials, plaintiff sought an extension of that deadline, and I granted him until October

20, 2021, to respond to defendants’ motion. However, plaintiff missed that deadline,

which implies that he has abandoned his remaining claims in this lawsuit. I will give

plaintiff one last chance, until November 22, 2021, to respond to defendants’ motion. If

he fails to respond fully by this deadline, then I will dismiss plaintiff’s claims against

Maasen, Ender, and Buesgen with prejudice, for failure to prosecute.
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                                         ORDER

       IT IS ORDERED that plaintiff John French has until November 22, 2021, to file an

opposition to defendants’ motion for summary judgment. Plaintiff is advised that his failure

to respond by that deadline will cause the court to dismiss his remaining claims in this

lawsuit with prejudice for failure to prosecute, pursuant to Federal Rule of Civil

Procedure 41(b).



       Entered this 9th day of November, 2021.

                                          BY THE COURT:

                                          /s/
                                          _______________________
                                          STEPHEN L. CROCKER
                                          Magistrate Judge




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